     Case: 1:21-cv-01280 Document #: 88 Filed: 07/02/21 Page 1 of 3 PageID #:1979



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

KTM AG,                                                   )
                                                          )   Case No. 21-cv-1280
                Plaintiff,                                )
                                                          )
                                                          )    Judge Gary S. Feinerman
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff KTM AG hereby
dismisses with prejudice all causes of action in the complaint as to the Defendants identified below and in
Schedule A. No motions are pending relative to these Defendants. Each party shall bear its own
attorney’s fees and costs.
        No.     Defendant
        49      Moonyeuu
        66      P1 Tools
        71      Piteww
        74      Qiilu
        141     urjipstore

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
    Case: 1:21-cv-01280 Document #: 88 Filed: 07/02/21 Page 2 of 3 PageID #:1980



                                Respectfully submitted,
Dated: July 2, 2021             By:    s/Michael A. Hierl             _
                                       Michael A. Hierl (Bar No. 3128021)
                                       William B. Kalbac (Bar No. 6301771)
                                       Hughes Socol Piers Resnick & Dym, Ltd.
                                       Three First National Plaza
                                       70 W. Madison Street, Suite 4000
                                       Chicago, Illinois 60602
                                       (312) 580-0100 Telephone
                                       mhierl@hsplegal.com

                                       Attorneys for Plaintiff
                                       KTM AG
    Case: 1:21-cv-01280 Document #: 88 Filed: 07/02/21 Page 3 of 3 PageID #:1981



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 2, 2021.



                                                          s/Michael A. Hierl
